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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


FCS ADVISORS, LLC,

                                        Plaintiff,

                     —against—                                  21 Civ. 6995 (PKC)
THEIA GROUP, INC., d/b/a “THORIAN
GROUP” and/or “CYPHERIAN”; THEIA
AVIATION, LLC; and THEIA HOLDINGS
A, INC., d/b/a “THORIAN HOLDINGS,”


                                     Defendants.


   NOTICE OF EXPEDITED MOTION OF RECEIVER FOR AN ORDER FURTHER
      EXTENDING THE STAY PROVIDED IN THE RECEIVERSHIP ORDER

       PLEASE TAKE NOTICE that Michael Fuqua, as receiver (the “Receiver”) for Theia

Group, Inc., Theia Aviation LLC, and Theia Holdings A, Inc., by and through his undersigned

counsel, will move (the “Motion”) the Court, before the Honorable P. Kevin Castel, United States

District Judge for the Southern District of New York, at the Daniel Patrick Moynihan United States

Courthouse, 500 Pearl Street, New York, NY 10007-1312, for entry of an Order (the “Proposed

Order”), substantially in the form attached as Exhibit A: (a) further extending the stay provided

for in paragraph 4 of the Order Appointing Michael Fuqua as Receiver (Doc. 117) (the

“Receivership Order”) through and including January 31, 2023 and (b) granting such further relief

as is appropriate.

       PLEASE TAKE FURTHER NOTICE that, in support of this Motion, the Receiver relies

upon the accompanying Memorandum of Law in support of the Motion and the Declaration of

Michael Fuqua, as Receiver, in Support of the Motion (the “Fuqua Declaration”), each of which

is being filed contemporaneously herewith.
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       PLEASE TAKE FURTHER NOTICE that copies of the Memorandum of Law and Fuqua

Declaration   can   be    obtained   (i)   for    a    fee   through   the   Court’s   website   at

https://www.nysb.uscourts.gov/ referencing Case No. 21 Civ. 6995 (PKC) or (ii) for free upon

request directed to counsel for the Receiver, Reed Smith LLP, 1201 N. Market Street, Suite 1500,

Wilmington, Delaware 19801, Attn: Jason D. Angelo, Esq. (jangelo@reedsmith.com).

       PLEASE TAKE FURTHER NOTICE that pursuant to paragraph 15 of the Receivership

Order, Federal Rule of Civil Procedure 6(d), and Rule 6.1(b) of the Local Rules of the United

States District Courts for the Southern and Eastern Districts of New York, opposing affidavits and

answering memoranda must be filed on or before December 7, 2022.

Dated: November 30, 2022
       New York, New York
                                             Respectfully submitted,

                                             REED SMITH LLP


                                     By:     /s/ Kurt F. Gwynne
                                             Kurt F. Gwynne
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                                             - and -

                                             Jason D. Angelo, Esq. (admitted pro hac vice)
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                                             Counsel for Michael Fuqua, in his capacity as
                                             Receiver of Theia Group, Inc., Theia Aviation LLC,
                                             and Theia Holdings A, Inc.




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